       Case 8:22-cv-02597-DKC              Document 34    Filed 02/28/23      Page 1 of 3



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               SOUTHERN DIVISION

NORTHERN VIRGINIA CITIZENS
ASSOCIATION,

                              Plaintiff,
       v.                                            No. 22-cv-03336-DKC
FEDERAL HIGHWAY ADMINISTRATION,
et al.,


                              Defendants.



                        UNOPPOSED MOTION TO CONSOLIDATE

       Plaintiff Northern Virginia Citizens Association hereby moves pursuant to Rule 42, Fed.

R. Civ. P. to consolidate the above-captioned case with the pending case of Maryland Chapter of

the Sierra Club, et al. vs. Federal Highway Administration, 22-cv-2597-DKC (D. Md., filed Oct.

11, 2022) (hereinafter referred to as “MD Sierra Club case”). Plaintiffs in the MD Sierra Club

case have advised that they do not oppose consolidation. The Defendants in MD Sierra Club case,

who are represented by the same counsel in the above-captioned case, also do not oppose

consolidation.

                               MEMORANDUM IN SUPPORT

       Consolidation is appropriate because this case shares a common core of facts and law with

the MD Sierra Club case: both cases name the same agency defendants and challenge the same

decision by the agency defendants to approve a federally-funded transportation project to widen

and add toll lanes to a 15-mile stretch of I-495 (the Beltway) and I-270, between McLean, Virginia,

and Gaithersburg, Maryland, including the addition of toll lanes over the American Legion Bridge
       Case 8:22-cv-02597-DKC            Document 34        Filed 02/28/23     Page 2 of 3



crossing the Potomac River into the Commonwealth of Virginia (“Toll Lanes Project” or “HOT

Lanes”). The above-captioned lawsuit challenges the legality of that decision based on one of the

laws that is the focus of the MD Sierra Club lawsuit: the National Environmental Policy Act

(“NEPA”), 42 U.S.C. § 4321 et seq. As related cases, they have been assigned to the same district

court judge.

       The above-captioned case focuses on a single issue addressed in the challenged agency

decision: the lawfulness under NEPA of the construction by MDOT of flyover ramps in Virginia

connecting the Toll Lanes Project at the terminus of the American Legion Bridge to the I-495

Express Lanes Northern Extension (“I-495 NEXT”) project in Virginia. Although the MD Sierra

Club encompasses a wider range of issues, judicial review of both cases will be based on the same

administrative record. Plaintiff’s counsel in this case is also counsel for Maryland Sierra Club in

the MD Sierra Club case, and Plaintiff in this case has agreed to the briefing schedule proposed by

the parties in the MD Sierra Club case. This Court has issued a letter order in the MD Sierra Club

case approving the parties’ proposed schedule for the filing of cross motions for summary

judgment, and also directed that “[o]nce service is effected in Civil Action No. 22-3336, counsel

will confer and, if appropriate, move for consolidation.” Document No. 32 in Civil Action No.

22-cv-2597-DKC.

       For the foregoing reasons, the interests of judicial economy and efficiency warrant

consolidating these cases and placing them on a coordinated schedule for briefing. In light of these

interests and the lack of any opposition from Defendants or Plaintiffs in the MD Sierra Club case,

Plaintiff respectfully requests that this motion to consolidate be granted.
        Case 8:22-cv-02597-DKC        Document 34     Filed 02/28/23    Page 3 of 3



 Respectfully submitted,

/s/      Andrea Ferster
 Andrea Ferster (DC Bar No. 384648)
 (admitted pro hac vice)
 Attorney at Law
 2121 Ward Court, N.W. 5th Fl.
 Washington, D.C. 20037
 Telephone: (202) 974-5142
  Email: aferster@railstotrails.org


 TOBIN O’CONNOR CONCINO P.C.

 /s/ David C. Tobin
 David C. Tobin, Esq., D. Md. Bar No. 03727
 dctobin@tobinoconnor.com
 Larry E. Tanenbaum, Esq., D. Md. Bar No. 17988
 letanenbaum@tobinoconnor.com
 Tobin O'Connor Concino P.C.
 5335 Wisconsin Ave., NW
 Suite 400
 Washington, D.C. 20015
 (202) 362-5903 (Direct)
 (202) 362-5900 (Main)
 (202 362-6579 (F)
 www.tobinoconnor.com
                              CERTIFICATE OF SERVICE

 I HEREBY CERTIFY that on this 27th day of February 2023, a copy of the foregoing was
 served on all counsel of record via the Court’s CM/ECF system.

/s/    Andrea Ferster
Andrea Ferster
